Case 9:07-cv-80138-DMM Document 48-8 Entered on FLSD Docket 10/03/2007 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 07-80138-CIV-MIDDLEBROOKS/JOHNSON

      SAMIRA SULLIVAN, on her own
      behalf and others similarly situated,

      Plaintiff,

      v.

      LANA MARKS LTD, INC., a Florida
      corporation, and LANA J. MARKS,
      individually.

      Defendants.
      ____________________________________/


              ORDER ON PLAINTIFFS MOTION TO ENFORCE SETTLEMENT
             AGREEMENT AND FOR ENTRY OF JUDGMENT FOR PLAINTIFFS

               THIS CAUSE having come before the Court on Plaintiffs Motion to Enforce

      Settlement Agreement and For Entry of Judgment for Plaintiffs, and the Court having

      considered the matter and being otherwise fully advised in the premises, it is hereupon

               ORDERED AND ADJUDGED that Plaintiff’s Motion to Enforce Settlement

      Agreement is GRANTED.

               Defendants shall pay to Plaintiffs through their counsel the amount of $20,000.00

      plus per diem interest for each day payment is not made post Order date, as executed by

      this Court, below.

                DONE AND ORDERED in Chambers, West Palm Beach, Palm Beach County,

      Florida, this ___day of October, 2007.

                                                   ______________________________
                                                         U.S. DISTRICT JUDGE
      Copies to:
      All Counsel of Record
